







NUMBER 13-00-032-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI


__________________________________________________________________


KELLI R. BLUNT A/K/A KELLI B. SOLIS,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

__________________________________________________________________


On appeal from the 36th District Court 


of Aransas County, Texas.


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O P I N I O N



Before Chief Justice Seerden and Justices Dorsey and Rodriguez


Opinion Per Curiam



	Appellant, KELLI R. BLUNT A/K/A KELLI B. SOLIS, perfected an
appeal from a judgment entered by the 36th District Court of Aransas
County, Texas,  in cause number A-99-0108-CR.  Appellant has filed a
motion to dismiss the appeal.  The motion complies with Tex. R. App. P.
42.2(a).

	The Court, having considered the documents on file and
appellant's motion to dismiss the appeal, is of the opinion that
appellant's motion to dismiss the appeal should be granted.  Appellant's
motion to dismiss the appeal is granted, and the appeal is hereby
DISMISSED.

							PER CURIAM

Do not publish.

Tex. R. App. P. 47.3.

Opinion delivered and filed this

the 10th day of August, 2000.


